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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IRON WORKERS’ MID-AMERICA                     )
PENSION PLAN, et al.,                         )
                                              )
                       Plaintiffs,            )       CIVIL ACTION
                                              )
       vs.                                    )       NO. 18 C 7610
                                              )
FENCE CONNECTION, INC.,                       )       JUDGE ANDREA R. WOOD
an Illinois corporation,                      )
                                              )
                       Defendant.             )


                    PLAINTIFFS' MOTION TO REOPEN CASE FOR
                    THE LIMITED PURPOSE OF ENFORCING THE
                      TERMS OF A SETTLEMENT AGREEMENT
                  AND ENTERING JUDGMENT AGAINST DEFENDANT


       NOW COME Plaintiffs, IRON WORKERS’ MID-AMERICA PENSION PLAN, et al., by

their attorneys, and move the Court for the entry of an order reopening this action for the limited

purpose of enforcing the terms of a Settlement Agreement entered into between the parties on

November 21, 2022. In support of the Motion, Plaintiffs state as follows:

       1.      This action was originally brought by the Plaintiffs, the Trustees of the jointly-

administered, labor-management employee benefit plans known as the Iron Workers’ Mid-

America Pension Plan and Iron Workers’ Mid-America Supplemental Monthly Annuity (SMA)

Fund, alleging, inter alia, that Defendant breached its obligations under the terms of the collective

bargaining agreement entered into with the International Association of Bridge, Structural,

Ornamental and Reinforcing Iron Workers, which incorporates the wage and fringe benefit
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contribution obligations in various Iron Worker Local Union geographic jurisdictions, including

Locals 63 and 112, and the Agreements and Declarations of Trust under which the Plaintiff Funds

are maintained.     Specifically, Plaintiffs allege that Defendant failed to remit payment of

contributions for work performed on its behalf by beneficiaries of the Plaintiff Funds. The

Complaint was brought pursuant to the Employee Retirement Income Security Act of 1974, as

amended, 29 U.S.C. ''1132, 1145.

       2.        On November 21, 2022, a Settlement Agreement incorporating the terms for

settlement agreed to by the parties was executed (a copy of the Settlement Agreement is attached

as Exhibit 1).

       3.        On January 31, 2023, this Court entered the parties’ agreed order of dismissal,

through which the Court retained jurisdiction to enforce the settlement agreement through June 3,

2024 (a copy of the Court=s Notification of Docket Entry and Agreed Order of Dismissal is attached

as Exhibit 2).

       4.        As recited in the Settlement Agreement, Plaintiffs’ claimed contributions due of

$66,279.60, liquidated damages of $42,799.07, auditing costs of $2,198.38, and court costs and

attorneys’ fees of $17,740.00, for a total of $129,017.05.

       5.        The Funds agreed to waive any amounts claimed due from the Defendant above

$80,000.00, contingent on the Defendant’s full compliance with the Settlement Agreement,

specifically including its payment of $80,000.00, in eighteen (18) installments, with interest at a

rate of 8.25% per year, with the first installment due on January 1, 2023, and subsequent

installments due the first day of the 17 months thereafter.


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        6.     In the event the Funds did not timely receive the payments required by the

Settlement Agreement, the Defendant would be in breach of the Settlement Agreement. In the

event of a breach, any amounts remaining due under the Settlement Agreement, including amounts

claimed due above $80,000.00 that would have been waived, and additional accrued interest (at

8.25%), plus any additional costs and attorneys’ fees incurred by the Funds after October 31, 2022,

to collect these amounts or enforce the Settlement Agreement, became immediately due and

owing, and the Funds became entitled to enforce the Settlement Agreement by filing a motion with

the Court to enter judgment, with the only defense the Defendant can raise being the defense of

payment.

        7.     Defendant made the first two installments due January 1, and February 1, 2023,

totaling $9,500.00, of which $8,428.88 was applied to the principal and $1,071.12 was applied to

interest.

        8.     Defendant has not submitted its third and fourth installment payments due pursuant

to the terms of the Settlement Agreement on March 1, 2023 and April 1, 2023, and is therefore in

breach of the Settlement Agreement.

        9.     In light of Defendant’s breach, it owes $71,571.13, for the balance due on the

$80,000.00, plus the $49,017.05 that would have been waived, additional accrued interest on

$120,769.51 from March 1, 2023 to the date of filing this motion in the amount of $1,660.58, plus

the Funds’ attorneys’ fees incurred since November 1, 2023 in the amount of $2,473.00.

        10.    For all the reasons stated, the Plaintiffs hereby move the Court for the entry of an

Order reopening this action for the limited purpose of enforcing the terms of the Settlement

Agreement and entering judgment against the Defendant.
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       Specifically, Plaintiffs request:

       A.      That judgment be entered in favor of Plaintiffs and against Defendant to include the
               amount of $122,248.76, being the total amount remaining due pursuant to the
               Settlement Agreement.

       B.      That judgment be entered in favor of Plaintiffs and against Defendant to include an
               additional $2,473.00 in attorneys' fees incurred by the Plaintiffs since November 1,
               2022 and including the preparation and presentment of their Motion to Reopen.

       C.      That Plaintiffs have such further relief as may be deemed just and equitable by the
               Court.


                                                                    /s/ Patrick N. Ryan



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                                             CERTIFICATE OF SERVICE

        The undersigned, an attorney of record, hereby certifies that on or before the hour of 4:00
p.m., this 7th day of April 2023, he caused to be electronically filed, Plaintiffs’ Motion to Reopen
Case to Enforce the Terms of the Settlement Agreement and Enter Judgment Against Defendant,
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to the following:

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                                                                                               /s/ Patrick N. Ryan



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